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 6
   Attorneys for Plaintiff
 7 Betty Grinder

 8
 9                              UNITED STATES DISTRICT COURT
10             NORTHERN DISTRICT OF CALIFORNIA — SAN FRANCISCO DIVISION
11

12 BETTY GRINDER,                                   Federal Case No.: 3:17-cv-00343-WHA
13                 Plaintiff,
14           vs.                                    STIPULATION OF DISMISSAL WITH
                                                    PREJUDICE OF DEFENDANT
15 EXPERIAN INFORMATION SOLUTIONS,                  EXPERIAN INFORMATION
   INC.; et. al.,                                   SOLUTIONS, INC.; [PROPOSED] ORDER
16
                  Defendants.
17

18

19           IT IS HEREBY STIPULATED by and between plaintiff Betty Grinder and defendant

20 Experian Information Solutions, Inc. (“Experian”), through their designated counsel, that

21 Experian be dismissed with prejudice from the above-captioned action pursuant to Federal Rules

22 of Civil Procedure, Rule 41(a)(2), and that each party shall bear its own attorneys’ fees and

23 costs.
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24
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28                                                 1
            STIPULATION OF DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                          [PROPOSED] ORDER
       Case 3:17-cv-00343-WHA Document 112 Filed 02/07/18 Page 2 of 2




 1                                              Sagaria Law, P.C.
     DATED: February 6, 2018
 2
                                                By:          /s/ Elliot W. Gale
 3                                                                    Elliot W. Gale
                                                Attorneys for Plaintiff
 4
                                                Betty Grinder
 5

 6 DATED: February 6, 2018                      Jones Day
 7

 8
                                                By:           /s/Ben Lee
 9                                                                     Ben Lee
                                                Attorneys for Defendant
10
                                                Experian Information Solutions, Inc.
11

12 I, Elliot Gale, am the ECF user whose identification and password are being used to file this

13 Stipulation. I hereby attest that Ben Lee has concurred in this filing.

14 /s/ Elliot Gale

15
                                               [PROPOSED] ORDER
16

17          Pursuant to the stipulation of the Parties, Experian is dismissed with prejudice from the
18 above-captioned action and that each party shall bear its own attorneys’ fees and costs. This

19 dismissal is with prejudice as to plaintiff's claims only (i.e., without prejudice to any potential

20
     cross-claims that might possibly be asserted later by co-defendants against Experian).
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            IT IS SO ORDERED.
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23                                                                                  D
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                                                         UNIT




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                                                                  IT IS      DIFIED
                                                                     AS MO
24 DATED: February 7, 2018.
                                                                                                   R NIA




                                                   WILLIAM H. ALSUP
25                                                 UNITED STATES DISTRICT    upJUDGE
                                                                    liam Als
                                                         NO




                                                                                il
                                                                       Judge W
                                                                                                   FO




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28                                                      2
           STIPULATION OF DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                         [PROPOSED] ORDER
